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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:12−cr−00723
                                                       Honorable Matthew F. Kennelly
Adel Daoud
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 11, 2024:


        MINUTE entry before the Honorable Matthew F. Kennelly as to Adel Daoud: At
the request of government counsel, the deadline for the government's reply to defendant's
submission entitled "Response to Government's Response to Compel / Impeach UCE and
CHS / and Dismiss / Continued Continued" (dkt. no. 536) is extended to 6/19/2024.
Mailed notice. (mma, )




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